Evolutio: Risk: Advisdrase 19-10751-SMG_ Doc 24-1

insured: EROLIDA M GARCIA-VASQUEZ
-5284

FL20-0112484

Policy #: -.
Claim #:
cements

Mailing address:

EROLIDA GARCIA-VASQUEZ
OCEAN BANK

7951 SW 40TH ST SUITE 210.
Miami, FL 33155

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Cn ROPE Es

 

4/13/2020
Other (Claim)
Cov. Apayment: °‘’ 10,000.00

 

Filed:4:102/20

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Date:

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.Page 1 of 2

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10/14/2020

 

Attached is your payment corresponding to the coverage mentioned above. The draft is valid for 60 days from the original
date of issue. To avoid any delays, the draft must be properly endorsed by the payee or by each of the payees separately if

drawn to more than one person or firm.

Please conic hf mortgage company regarding their procedures on endorsing toss drafts.

In accordance with policy conditions: "If a mortgagee is named in this policy, any loss payable under Coverage A or B will be
paid to the mortgagee and you, as interests appear. If more than one mortgagee is named, the order of payment will be the

same as the order of precedence of ihe mortgages.’

  

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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75284 | FL20-0112484 October 14, 2020 5776785
— -RISK ADVISORS or ~ NOT VALID AFTER 60 DAYS FROM DATE OF ISSUE. —
_ CLAIMS ACCOUNT. eee Wells Fargo Bank NA.
DRAFT AMOUNT
yo scr. Od Dos, seRKRHKAT_L 1 0 000.00
HRU DRAFT =. TEN THOUSAND AND 00/100 DOLLARS
EROLIDA GARCIA-VASQUEZ AND
OCEAN BANK Yiiber
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Evolutios Risk a Adviseree” 10751-SMG__ Doc 24-1 Filed 11/02/20 ... Page 2 of 2

Insured: erro EROLIDA M GARCIA-VASQUEZ
Policy #: +5284 rate a
Claim #: =; FL20-0112485 ree

Mailing address:

EROLIDA GARCIA-VASQUEZ | ae s pomepeem
QCEAN BANK oo 8 PAYEE
“F557 SW-40TH ST SUITE 210.

- Miami, FL (33155 ee

 

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Date: 4/17/2020 Draft! =~ = 5776779
= Type: Other (Claim) Date: 10/14/2020
Cov. Apayment: ~ $7,000.00 | : qe

Attached is your payment corresponding to the coverage mentioned above. The draft is valid for 60 days from the original
date of issue. To avoid any delays, the draft must be properly endorsed by the payee or by each of the payees separately if
drawn to more than one person or firm.

Teg Ba da car Pane moo
Please contact your. mortgage company regarding their procedures on endorsing loss drafts.

In accordance with policy conditions: "If a mortgagee is named in this policy, any loss payable under Coverage A or B will be
paid to the mortgagee and you, as interests appear. if more than one morigagee | is named, the order of payment will be the
same as the order of pr ecedence of the, mortgages."

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CLAIMS ACCOUNT: =: a a a uo i Wells Fargo Bank N.A.

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EROLIDA GARCIA-VASQUEZ AND a 2 aan . oo. | LD. LE Lo |
OCEANBANK Eee Ba ss. a, popste Hib iyo

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